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4
     Counsel for AMY HER
5

6

7
                           IN THE UNITED STATES DISTRICT COURT
8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10                                                  )
     UNITED STATES OF AMERICA,                      )   Case No.: 2:15-cr-00115-TLN
11                                                  )
                   Plaintiff,                       )   STIPULATION AND ORDER
12          v.                                      )   TO CONTINUE SENTENCING
                                                    )
13   AMY HER,                                       )   Judge: Hon. Troy L. Nunley
                                                    )   Time: 9:30 a.m.
14                 Defendant.                       )   Date: March 22, 2018
                                                    )
15

16

17          IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel, Matthew Yelovich, Assistant United States Attorney, and Dustin D. Johnson,
19   Counsel for AMY HER, that:
20      1. By previous order, this matter was set for sentencing on November 30, 2017.
21      2. By this stipulation, the parties now move to continue sentencing until March 22, 2018.
22      3. The parties agree and stipulate that this continuance will provide both parties additional
23   time to prepare for sentencing by, inter alia, researching issues pertinent to making a
24   recommendation to the Court for a proposed sentence.
25   IT IS SO STIPULATED.
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27          The prosecutor has authorized defense counsel to sign this stipulation on his behalf.
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1
            The probation officer has no objection to continuing the judgment and sentencing hearing
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     to March 22, 2018, at 9:30 a.m., and has provided the following briefing schedule based on the
3
     new Judgment and Sentencing Date of March 22, 2018.
4
            •   Reply, or Statement of Non-Opposition: March 15, 2018.
5
            •   Motion for Correction of the Presentence Report shall be filed with the Court and
6
                served on the Probation Officer and opposing counsel no later than: March 8, 2018.
7
            •   The Presentence Report was filed with the Court on November 8, 2017.
8

9
     Dated: November 15, 2017                    Respectfully submitted,
10

11
                                                 /s/ Dustin D. Johnson
12                                               Dustin D. Johnson
                                                 Counsel for Amy Her
13

14   Dated: November 15, 2017                    PHILLIP TALBERT
                                                 United States Attorney
15

16                                               /s/ Matthew M. Yelovich (approved via email)
                                                 MATTHEW M. YELOVICH
17                                               Assistant U.S. Attorney
18
                                                ORDER
19
            IT IS SO ORDERED this 15th day of November, 2017.
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24                                                       Troy L. Nunley
                                                         United States District Judge
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